         Case 9:08-cv-80258-DTKH Document 1 Entered on FLSD Docket 03/11/2008 Page 1 of 8


                                                                              March 11, 2008




                                            08-CV-80258-Hurley-Hopkins




1 of 8
         Case 9:08-cv-80258-DTKH Document 1 Entered on FLSD Docket 03/11/2008 Page 2 of 8




2 of 8
         Case 9:08-cv-80258-DTKH Document 1 Entered on FLSD Docket 03/11/2008 Page 3 of 8




3 of 8
         Case 9:08-cv-80258-DTKH Document 1 Entered on FLSD Docket 03/11/2008 Page 4 of 8




4 of 8
         Case 9:08-cv-80258-DTKH Document 1 Entered on FLSD Docket 03/11/2008 Page 5 of 8




5 of 8
         Case 9:08-cv-80258-DTKH Document 1 Entered on FLSD Docket 03/11/2008 Page 6 of 8




6 of 8
         Case 9:08-cv-80258-DTKH Document 1 Entered on FLSD Docket 03/11/2008 Page 7 of 8




7 of 8
         Case 9:08-cv-80258-DTKH Document 1 Entered on FLSD Docket 03/11/2008 Page 8 of 8




8 of 8
